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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT HUNTINGTON


HSBC BANK USA, NATIONAL ASSOCIATION,
Solely as Indenture Trustee, etc.

                                  Plaintiff,

v.                                                      Civil Action No. 3:12-cv-00668


RON RESH and VALARIE REYNOLDS-RESH, etc.,

                                  Defendants/Third-Party Plaintiffs,

v.



REALTY CONCEPTS, LTD.; ANDREW BROSNAC;
LAWYER’S TITLE INSURANCE CORPORATION;
and HELEN SULLIVAN,

                                  Third-Party Defendants.



                         MEMORANDUM IN SUPPORT OF
                       MOTION TO STRIKE SHAM AFFIDAVIT

     COMES NOW the Plaintiff (“HSBC”) and submits this memorandum in support of its

Motion to Strike Sham Affidavit [ECF 594]. For the reasons set forth herein, HSBC asserts

that the Court should strike the Affidavit of J.D. Koontz, who is the Defendants’ “banking

expert.”



                                 I. RELEVANT FACTS

     The Defendants retained J.D. Koontz “as an expert witness on banking practices and

procedures.” Koontz Report [ECF 557-39] at 1, Koontz Tr. (Exhibit A) at 7:7-8. Mr. Koontz
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was deposed on June 23, 2014. On December 3, 2015, an affidavit (“the Affidavit”) signed the

day before by Mr. Koontz, was submitted as Exhibit 31 [ECF 557-38] to the Defendants’

Opposition [ECF 557] to HSBC’s Motion for Summary Judgment [ECF 539]. Portions of the

Affidavit directly contradict, and present a bona fide inconsistency with, the deposition

testimony elicited from Mr. Koontz in June 2014. Such bona fide inconsistencies render the

Affidavit a “sham affidavit.”



                                         II. ARGUMENT

                The Affidavit Should be Stricken Because it is a “Sham Affidavit”


     “At the summary judgment stage, if an affidavit is inconsistent with the affiant's prior

deposition testimony, courts may disregard the affidavit pursuant to the sham-affidavit rule.”

Kinser v. United Methodist Agency for the Retarded--Western North Carolina, Inc., 613 Fed.

Appx. 209, 210 (4th Cir. 2015) (citations omitted). Whenever there is a bona fide inconsistency,

the sham-affidavit rule applies. Id. (citing Spriggs v. Diamond Auto Glass, 242 F.3d 179, 185 n.

7 (4th Cir. 2001)). Here, there are bona fide inconsistencies between the deposition testimony of

the J.D. Koontz taken in June of 2014, and the Affidavit filed at the summary judgment in

December of 2015. Accordingly, the Affidavit is a “sham affidavit” and it should be stricken.



                                The First Bona Fide Inconsistency

    In the Amended Counterclaim the Defendants claimed that by not attending the closing, the

Bank breached some duty owed to the Defendants:                “BLX Capital’s failure to have a

representative at the closing . . . was negligent, violated duties of good faith and fair dealing, and

allowed the fraud to be completed.” Amended Counterclaim [ECF 20] at 20 ¶ 91, and ¶¶ 88 and

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90. However, under West Virginia law a lender is under no common law or statutory duty to

attend closing.1 Thus, any duty to attend closing must necessarily have arisen from one of the

loan “documents [which] created a contractual agreement between the parties.” Id. at 29 ¶ 140.

For this reason, HSBC’s counsel specifically questioned Mr. Koontz as to any obligation

imposed by the loan documents in these transactions2:

        Q.       Did you find anything in the written documents that you reviewed
                 that set forth an obligation on behalf of the lender that the lender
                 did not perform?

        A.       No.

Exhibit A, J.D. Koontz Tr. at 126:21-24.

        Q.       . . . I think you said this just a minute ago, as far as the duties that
                 the bank agreed to in the written documents from your review, it
                 fulfilled all those duties, correct?

        A.       Yes.

Koontz Tr. at 129:2-6.

     Mr. Koontz was quite clear on the point when he testified under oath at his deposition in

June of 2014: the Bank performed all obligations imposed by the loan documents. But now,

eighteen months later and in the summary judgment phase, Mr. Koontz is trying to change his

story. Now, Mr. Koontz states in the Affidavit that one of the loan documents did impose a duty

that the Bank failed to perform. Now, Mr. Koontz claims that the Bank “made representations to

the Reshes in its commitment letters that [it . . .] would undertake to supervise the closing of the




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        Mr. Koontz even admitted that his bank was not always represented at closings of loans that he originated
when he was a bank loan officer. See Koontz Tr. at 119:11–121:13.
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         In Exhibit D of his Report, Mr. Koontz discloses that he reviewed a total of 290 documents related to the
subject loans, including the Commitment Letters. See Koontz Report [ECF 557-39] at Exhibit D; see also Koontz
Tr. at 124:24-125:2.

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transactions.” The Affidavit [ECF 557-38] ¶ 17. This is a bona fide inconsistency that brings the

sham-affidavit rule into play.

                                 The Second Bona Fide Inconsistency

    Although never actually alleged by the Defendants, much of the Defendants’ case depends

on the existence of a “special relationship” between the Bank and the borrowers, which were the

Living Trusts. This Court has repeatedly stated that in the lender-borrower context, a “special

relationship” is formed “when a lender has performed services not normally provided by a lender

to a borrower.” Daniels v. JP Morgan Chase & Co., 2011 WL 2489938 *3 (S.D.W.Va. June 21,

2011) (emphasis added) (citing Glascock v. City National Bank of West Virginia, 576 S.E.2d 540

(W.Va. 2002)); see also Koontz v. Wells Fargo, N.A., 2011 WL 1297519 *11 (S.D.W.Va. Mar.

31 2011) (“courts consider whether the lender has created such a ‘special relationship’ by

performing services not normally provided by a lender to a borrower.”)

    In light of this standard, HSBC’s counsel made specific inquiry as to whether the Bank in

this case had performed services not normally provided by a lender to a borrower:

        Q:     Did BLX [(the bank)] engage in any activity with respect to this
               borrower that was outside the normal lender/borrower
               relationship?

       A:      I think that BLX did less than what I would come to expect with a
               borrower and a customer.

       Q:      Okay, BLX did less than what you would expect, not more than
               would be expected of the average lender?

       A:      That is correct. They did less than what I would expect.

Koontz Tr. at 71:14-22.

    Now, at the summary judgment phase, Mr. Koontz is attempting to rewrite his testimony on

this point as well. Pointing to the same language of the Commitment Letters that he now claims



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imposed an obligation on the Bank to supervise the closing, Mr. Koontz also claims that “the

usage of such language or assurances is not normal or customary in banking and lending

practices, and could possibly be inferred as creating a special duty or assurance outside of that

which is normally present.” The Affidavit [ECF 557-38] at 4 ¶ 18. This too is a bona fide

inconsistency that subjects the Affidavit to the sham affidavit rule.



                                       III. CONCLUSION


    Because the above-noted bona fide inconsistencies exist between J.D. Koontz’s deposition

testimony and the Affidavit, this Court should grant the HSBC’s motion and strike the Affidavit

under the sham affidavit rule.

                                                      Respectfully submitted,
                                                      HSBC BANK USA,
                                                      NATIONAL ASSOCIATION,
                                                      Solely as Indenture Trustee

                                                      By Counsel



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                              CERTIFICATE OF SERVICE


    I, W. Bradley Sorrells hereby certify that on this 20TH day of January, 2016, a true and

correct copy of the foregoing Memorandum in Support of Plaintiff’s Motion to Strike Sham

Affidavit was served upon all counsel of record in this case through the Court’s CM/ECF

system.




                                                  /s/ W. Bradley Sorrells
                                                 W. Bradley Sorrells (WV 4991)




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